
(2008)
In re: AMERIQUEST MORTGAGE CO. MORTGAGE LENDING PRACTICES LITIGATION
Eldora Moore
v.
Ameriquest Mortgage Co., et al., E.D. Michigan, C.A. No. 2:07-14498
Phyllis A. Hollis, et al.
v.
Ameriquest Mortgage Co., et al., D. New Jersey, Bky. Advy. No. 3:07-2615.
MDL No. 1715.
United States Judicial Panel on Multidistrict Litigation.
April 4, 2008.

ORDER VACATING CONDITIONAL TRANSFER ORDERS
JOHN G. HEYBURN, II, Chairman.
Before the entire Panel:[*] Plaintiffs in these two actions move, pursuant to Rule 7.4, R.P.J.P.M.L., 199 F.R.D. 425, 435-36 (2001), to vacate our orders conditionally transferring the actions to the Northern District of Illinois for inclusion in MDL No. 1715. Defendant Ameriquest Mortgage Co. (Ameriquest) and others[1] oppose the motions to vacate, contending that these actions fall within the scope of MDL No. 1715 such that transfer is appropriate.
After considering all argument of counsel, we find that transfer of these actions to the Northern District of Illinois would not necessarily serve the convenience of the parties and witnesses or further the just and efficient conduct of this litigation at the present time. The actions pending in MDL No. 1715 relate to allegedly predatory lending practices by Ameriquest or a related entity in soliciting and closing residential mortgage transactions. The complaints in the two actions before us plead individual claims based on the specific loan transactions at issue in those actions, which will likely require unique discovery and other pretrial proceedings. Accordingly, we are persuaded that inclusion of these two actions in MDL No. 1715 is not presently warranted.
IT IS THEREFORE ORDERED that our conditional transfer orders designated as "CTO-34" and "CTO-35" are vacated insofar as they relate to these two actions.
NOTES
[*]  Judge Scirica took no part in the decision of this matter.
[1]  ACC Capital Holdings Corp.; AMC Mortgage Services, Inc.; Ameriquest Capital Corp.; Ameriquest Mortgage Securities, Inc.; Deutsche Bank National Trust Co.; Town &amp; Country Credit Corp.; and Town &amp; Country Title Services, Inc.

